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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.: 24-cr-20398


    UNITED STATES OF AMERICA

             v.

     FEDERICO NANNINI,
     MAURO NANNINI,
     ALEJANDRO THERMIOTIS, and
     FRANCISCO TONARELY

                                                   /

                        ALEJANDRO THERMIOTIS’ SENTENCING
                  MEMORANDUM AND MOTION FOR DOWNWARD VARIANCE

             Defendant, Alejandro Thermiotis, through undersigned counsel, hereby submits his

   memorandum in aid of sentencing and motion for downward variance based on the statutory

   sentencing factors enumerated in 18 U.S.C. § 3553(a) and United States v. Booker, 543 U.S. 220

   (2005).

             I.     INTRODUCTION

             Alejandro accepts full responsibility for his conduct and does not offer any excuses for his

   actions. But in considering the appropriate sentence, the Court should recognize that Alejandro

   was not an experienced financial professional when he engaged in the criminal conduct. He was a

   young, risk-taking, 24-year-old who did not fully appreciate the wrongfulness of trading on

   material, non-public information. This profound and aberrational lapse in judgment does not define

   the person that Alejandro is, nor the one he hoped he would grow up to become. He is a devoted

   son, loving brother, and loyal friend. He is an intelligent young man, who has significantly matured

   since this incident, and who now understands the full import of his actions. He is ashamed of his
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   actions and has committed himself to take any and every opportunity that comes from this to ensure

   that the trajectory of his life never comes close to an event like this again. Therefore, for the reasons

   discussed further in this memorandum, Alejandro respectfully requests that the Court impose a

   sentence below the United States Sentencing Guidelines range (the “Guidelines”) in this case.

           II.     LEGAL STANDARD

           Title 18, section 3553(a), requires the Court to fashion a sentence “sufficient, but not

   greater than necessary, to serve the purposes” of sentencing. Although the Sentencing Guidelines

   are the starting point for the calculation of an appropriate sentence, a district court “may not

   presume that the Guidelines range is reasonable.” Gall v. United States, 552 U.S. 38, 50 (2007).

   Instead, the Court “must make an individualized assessment based on the facts” of each case,

   recognizing that a within-Guidelines sentence may be greater than necessary to serve the purposes

   of sentencing. Kimbrough v. United States, 552 U.S. 85, 91 (2007); see also United States v. Hunt,

   459 F.3d 1180, 1184 (11th Cir. 2006) (“if Booker is to mean anything, it must be that the district

   courts are obligated to impose a reasonable sentence, regardless of the guidelines range, so long

   as the guidelines have been considered.”). The Court is required to consider the following seven

   factors before imposing a sentence:

           (1) the nature and circumstances of the offense and the history and characteristics
               of the defendant;

           (2) the need for the sentence imposed —

                   (A) to reflect the seriousness of the offense, to promote respect for the law,
                   and to provide just punishment for the offense;
                   (B) to afford adequate deterrence to criminal conduct;
                   (C) to protect the public from further crimes of the defendant; and
                   (D) to provide the defendant with needed educational or vocational training,
                   medical care, or other correctional treatment in the most effective manner;


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          (3) the kinds of sentences available;

          (4) the kinds of sentence and the sentencing range established for —

                    (A) the applicable category of offense committed by the applicable category
                    of defendant as set forth in the guidelines . . . .

          (5) any pertinent policy statement . . . ;

          (6) the need to avoid unwarranted sentence disparities among defendants with
          similar records who have been found guilty of similar conduct; and

          (7) the need to provide restitution to any victims of the offense.

   18 U.S.C. § 3553(a).

          III.      RELEVANT SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

          Among the section 3553(a) factors most applicable here are the nature and circumstances

   of the offense and the history and characteristics of the defendant, the needs for the sentence

   imposed to reflect the seriousness of the offense and to create general and specific deterrence, and

   the need to avoid unwarranted sentencing disparities amongst defendants.

                 A) Alejandro’s Personal Characteristics and History

          Congress has directed that a defendant’s personal characteristics should be considered

   equally with “the nature and circumstances of the offense.” 18 U.S.C. § 3553(a)(1). “Matters such

   as age, education, mental or emotional condition, medical condition . . . employment history,

   lack of guidance as a youth, family ties, or military, civil, charitable, or public service are. . .

   matters that § 3553(a) authorizes the sentencing judge to consider.” Rita v. United States, 551 U.S.

   338, 364-65 (2007) (emphasis added); see also United States v. Prosperi, 686 F.3d 32, 39 & 45

   (1st Cir. 2012) (affirming downward variance from 87-108 months to home detention because the

   loss numbers did not take into account the personal characteristics of the defendant); United States


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   v. Martin, 520 F.3d 87, 93 (1st Cir. 2008) (affirming a 91-month variance below the Guidelines

   range based in part on “the support that the defendant stood to receive from his family [and]

   personal qualities indicating his potential for rehabilitation”). These considerations warrant a

   below-Guidelines sentence here.

          Alejandro was born in Caracas, Venezuela in 1998. Alejandro’s parents have been together

   for over 30 years. Alejandro and his two siblings grew up in a loving and supportive household

   that is incredibly close-knit. Alejandro continues to reside at home and maintains a strong

   relationship with his parents, siblings, and extended family. When Alejandro was around ten years

   old, his family relocated to Miami to escape the instability and crime in Venezuela.

          Although Alejandro has always valued his education, his primary passion growing up was

   motorcycle racing. Alejandro began riding motorcycles when he was four years old. By thirteen,

   he was competing in races across Florida. Motorcycle racing requires tremendous courage and a

   willingness to take massive risks. It is a demanding sport where a single mistake can result in a

   high-speed crash resulting in serious injury or death. At the professional level, cyclists race at

   speeds of up to 179 mph. Even at the elite racing level, crashes are common.1 Despite these

   dangers, Alejandro dreamed of becoming a professional motorcycle racer and dedicated himself

   to pursuing it as a career. Because California is the heart of professional motorcycle racing in the

   United States, Alejandro decided to pursue his college education in California. Throughout

   college, Alejandro balanced a full-time class load, while pursuing his racing dreams. During the




   1
    See David Campillo-Recio, Accidents and Injuries in Elite MotoGP Motorcycle Riders, 18 J. of
   Clinical Orthopaedics and Trauma, 25 (2021).
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   racing season, Alejandro would spend the first half of his week studying and spend the rest of his

   week traveling and competing across California.

            Competing at this level is extremely expensive due to the significant travel, equipment

   maintenance, and competition costs for a racer. An individual racer can easily spend $200,000 to

   $300,000 per racing season. And while Alejandro’s family supported Alejandro’s racing dreams,

   his father’s business collapsed just as he was beginning college. The family’s sudden loss in

   income motivated Alejandro to search for a way to support his racing career while staying enrolled

   in college. This ultimately led to Alejandro’s foray into the stock market. Applying concepts he

   learned in college finance classes, Alejando taught himself about investing in the stock and option

   markets. During this time, Alejandro also rekindled his friendship with Federico Nannini based on

   their shared interest in the stock market. While Alejandro and Nannini families had been friends

   for years, Alejandro and Federico had developed different friendship circles. But during

   Alejandro’s multi-hour drives to racetracks, he would talk with Federico about their investing

   ideas. Prior to this case, Federico never provided Alejandro with material, non-public information,

   and Alejandro never solicited such information from his friend.

            Unfortunately, in 2022, Alejandro was involved in a traumatic crash during a race and

   snapped his femur.2 After undergoing surgery, Alejandro returned to Florida to live at home and

   undergo rehabilitation. Although Alejandro recovered from the accident, the crash marked the

   beginning of the end of his racing career. These are the kinds of dangers that professional

   motorcycle racers face whenever they get on their bikes. Acceptance of that level of risk far

   exceeds what most people would tolerate. But Alejandro grew up taking such risks on a regular


   2
       To be clear, Alejando executed the stock purchases prior to his 2022 motorcycle accident.
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   basis. And it was this comfort with risk that fed into his approach towards investing. Alejandro

   dove head-first into investments. He did not diversify, and he embraced high-risk opportunities

   with an “all-in” attitude. Alejandro never sought to commit insider trading. But when his friend,

   Federico, presented him with the “opportunity” for an uncertain, high-risk, and lucrative

   investment, he seized that risk without thoughtfully considering his actions.3 Alejandro now

   recognizes that this impulsivity, coupled with his lack of maturity in appreciating the full

   ramifications and wrongfulness of his actions, was destructive and led him to make the wrong

   decision. He fully accepts responsibility for this decision and respects whatever sentence the Court

   will impose on him. But undersigned counsel respectfully requests and urges the Court to consider

   Alejandro’s youth, lack of maturity, and unique personal characteristics in fashioning a below-

   Guidelines sentence.

              B) The Court must consider the nature and circumstances of the offense and
                 avoid any sentencing disparity amongst the defendants.

          The law requires the Court to also consider the nature and circumstances of the offense.

   See 18 U.S.C. § 3553(a)(1). The Supreme Court has affirmed that a sentencing judge must

   “consider every convicted person as an individual and every case as a unique study in the human

   failings that sometimes mitigate, sometimes magnify, the crime and the punishment to ensue.”

   Pepper v. United States, 562 U.S. 476, 487 (2011) (quoting Koon v. United States, 518 U.S. 81,

   113 (1996)). Alejandro stands in stark contrast to the typical insider trading defendant. The average

   inside trader is around 44 years old and most often, a business executive, financial professional,


   3
    When Alejandro made the investment, the MasTec acquisition of Infrastructure and Energy
   Alternatives, Inc. was only a possibility. In fact, at one point after Alejandro made the stock
   purchase, Federico wrote to him, estimating that it was 60% likely that the MasTec acquisition
   would not go through. See [D.E. 64 at ¶¶ 27-29] (Thermiotis Factual Proffer).
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   lawyer, or accountant.4 Alejandro was none of these things. He was a young man trying to earn

   money for himself by trading stocks and options based on self-taught methods.

          Alejandro never sought out to trade on insider information, and this was truly a first-time

   and last-time occurrence. He never asked Federico to provide him with information obtained from

   his job and never solicited material, non-public information from anyone. It was Federico’s

   decision to betray the trust of his company and client by disclosing the potential IEA acquisition

   to others, including to his father, an experienced and successful financial professional. Alejandro

   knows that he should never have acted on the information that Federico gave him, and he will

   forever regret this poor judgment. And while Alejandro did pass along Federico’s tip to his friend,

   Francisco Tonarely, he was not an insider or person who abused a position of trust to tip others.5

   This is a critical distinction according to the Supreme Court: “In the context of insider trading,

   we do not believe that a person whose liability is solely derivative can be said to be as culpable

   as one whose breach of duty gave rise to that liability in the first place.” Bateman Eichler, Hill

   Richards, Inc. v. Berner, 472 U.S. 299, 313 (1985). (emphasis added).

          In seeking to avoid any unwarranted sentencing disparities, the Court should consider that

   Alejandro most closely compares to his friend, Francisco, who received pretrial diversion in this

   case. See [D.E. 60]. Alejandro and Francisco are both young men who were trading stocks for their

   own benefit, and not as experienced financial professionals. Alejandro and Francisco both traded


   4
    Kenneth R. Ahern, Information Networks: Evidence from Illegal Insider Trading Tips, 125 J. of
   Financial Economics, 26, 33-34 (2017).
   5
    Alejandro’s Factual Proffer references a discussion between Alejandro and Federico regarding a
   wristwatch. See [D.E. 64 at ¶ 34]. But as Alejandro explained to the Government, he initially
   intended to give Federico a watch as a gift for providing him the tip. This was not solicited by
   Federico or bargained-for consideration for the tip.
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   on material, non-public information that originated from Federico. While Alejandro did pass long

   Federico’s tip to Francisco, Alejandro did so for no benefit whatsoever. The fundamental

   difference between these two defendants were the size of their trades. And while the insider trading

   Guidelines calculation is driven by the amount the defendant stood to gain with the trade,

   Alejandro and Francisco’s conduct largely reduces to the same, wrongful conduct—they traded on

   material, non-public information that they received from a friend. The disparity in outcomes

   between the two individuals with almost the exact same conduct, creates a sentencing disparity

   simply based on financial resources and risk-appetite.

              C) An appropriate sentence should reflect Alejandro’s immediate acceptance of
                 responsibility and his cooperation with the Government.

          Alejandro promptly accepted responsibility for his actions in this case. At the inception of

   this case, Alejandro met with the Government. He did not minimize or excuse his actions, disclosed

   all the information he knew that could assist the Government’s investigation, and agreed to

   cooperate. In fact, the Government quickly and affirmatively acknowledged how impressed they

   were with his candor during the interview process. Indeed, information provided by Alejandro

   assisted the Government in securing guilty pleas of all the co-defendants in this case not only by

   corroborating the Government’s allegations, but also, by providing additional information

   unknown to the Government. Information the Government has identified as being critical to secure

   these guilty pleas. [D.E. 64 at ¶¶ 47-49].6 Indeed, the Government has moved for a sentencing

   reduction, pursuant to § 5K1.1 of the Guidelines based on Alejandro’s substantial assistance to the




   6
     Alejandro also told Government investigators about a conversation between him and Federico
   where Federico explained what legal defense his father would use to explain the trade. See [id. at
   ¶ 46].
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   Government. See [D.E. 85]. Alejandro has also promptly accepted responsibility in the civil

   proceeding brought by the U.S. Securities & Exchange Commission.7 These actions demonstrate

   Alejandro’s remorse for his actions, his willingness to accept responsibility, and his sincerity in

   never again finding himself before a criminal court.

              D) Not only will Alejandro never commit another crime, the specific and general
                 purposes of deterrence have been accomplished in this case.

          The Court must also ensure that the sentence imposed is sufficient but not greater than

   necessary to reflect the seriousness of the offense, promote respect for the law, provide just

   punishment, generate specific and general deterrence, and protect the public. 18 U.S.C. §

   3553(a)(2). The Eleventh Circuit in United States v. Clay stressed that a sentencing court is

   “require[d] ... to consider characteristics of the defendant and the offense that make it more or less

   likely that the defendant will reoffend.” 483 F.3d 739, 745 (11th Cir. 2007). No matter what

   sentence the Court imposes, this offense will be Alejandro’s first and last crime. Before this case,

   Alejandro had never been in been trouble before. Alejandro’s family has supported him and lived

   through this ordeal. Watching his family suffer because of his own actions has deeply shamed

   Alejandro and instilled in him a unique appreciation for the impact of his actions not just on his

   own life, but also, the lives of his loved ones. Seeing the anguish he has inflicted on his family is

   reason alone that Alejandro will never re-offend.

          Alejandro has already sustained serious financial punishment for his conduct. Setting aside

   any potential civil penalties that the SEC will seek, Alejandro will have repaid the full amount of

   his forfeiture by the time of his sentencing, thereby completely disgorging himself of any benefit


   7
    See Securities & Exchange Commission v. Federico Nannini et al., No. 24:CV-23531-BB, at
   [D.E. 48].
                                             9
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   he received from the illegal trade. Finally, Alejandro will be burdened with a felony conviction

   that will serve as an effective bar from working in many—if not all—parts of the financial sector.

   See United States v. Emmenegger, 329 F. Supp. 2d 416, 428 (S.D.N.Y. 2004) (finding that risk of

   recidivism eliminated by the fact that the offense at issue was “particularly adapted to [the

   defendant’s] chosen career,” “[t]hat career is over, and his potential to commit this particular type

   of crime has been eliminated”). Regardless of his future career, Alejandro will never re-offend.

   His personal characteristics, including his age, education, and family, support this fact. See id.

   (finding that the defendant’s “youth and inexperience reinforce this low likelihood” that the

   defendant would re-offend.8

          By acknowledging the seriousness of his crime, promptly accepting responsibility, and

   cooperating with the Government, Alejandro has also demonstrated his post-offense respect for

   the law. Compare United States v. Prosperi, 686 F.3d 32, 48 (1st Cir. 2012) (affirming a sentence

   of six months of home monitoring, three years of probation, and 1,000 hours of community service

   for a defendant with a guidelines range of 87-108 months where there was no risk of recidivism

   and the loss numbers did not take into account the personal characteristics of the defendant);

   Tomko, 562 F.3d 558, 560 (3d Cir. 2007) (affirming a sentence of probation with a year of home

   detention and community service after taking into account the defendant’s negligible criminal

   history, employment record, community ties, and extensive charitable works); Gall, 552 U.S. at

   57-59 ((affirming a sentence of probation where there was “strong support that [defendant] was



   8
     The United States Department of Justice agrees with the conclusion that incarcerating defendants
   is not an effective means of deterrence. See U.S. Dept. of Justice, Nat’l Inst. of Justice, Five Things
   About Deterrence (July 2014). In fact, the Department of Justice finds that even increasing the
   severity of punishment does little to deter crime. See id.
                                                    10
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   not going to return to criminal behavior and was not danger to society”). Alejandro has done

   everything not only to fully accept responsibility and completely and without reservation

   cooperate, but to show his profound shame and remorse.

        E) Letters of Support

            “For all right judgment of any man or thing, it is useful, nay essential, to see his good

   qualities before pronouncing on his bad.”9Alejandro has separately filed letters of support from

   family and friends of Alejandro. The letters outline Alejandro’s commitment to family and loved

   ones. They offer the Court perspective about Alejandro as a human being from the people who

   know him best. Of course, Alejandro’s family and friends care about him and the sentence that the

   Court will impose will affect them deeply. But without question, the letters articulate Alejandro’s

   character: “strong moral foundation[,]” “goal oriented[,]” “assumed total responsibility[,]” “takes

   full accountability[,]” “pain and disappointment his actions has caused his family.” These letters

   show that Alejandro is a family-oriented young man, who has recognized the wrongfulness of his

   actions, and worthy of this Court’s mercy.

                                            CONCLUSION

            Alejandro respectfully requests that the Court carefully consider the significant factors

   above, including the full scope of his conduct, his complete acceptance of responsibility, the need

   to avoid unwarranted sentencing disparities, and his unlikeness to ever recidivate, in imposing a

   fair sentence. Alejando also respectfully requests that the Court, based on his personal history and

   characteristics, grant a sentence below the Guidelines range.




   9
       Thomas Carlyle
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   Date: March 20, 2025

                                              Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I certify that on this 20th day of March, 2025, I electronically filed this document with the

   Clerk of the Court using CM/ECF, causing a copy to be served on counsel of record.

                                                /s/ Michael B. Nadler
                                                MICHAEL B. NADLER




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